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WESTERN DISTRICT oF TENNESSEE "“’ ~‘"2’!§ ~; 2._ q
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TERRY 0TT0WAY, )
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Plaincifr )
)
v. )
) No. 99-]286 Bre-P

CoRRECTIoNs CoRPoRA'rIoN )
oF AMERICA, er at., )
)
Defendants )

 

AGREED ORDER OF DISMISSAL WITH PREJUDICE

 

All matters between the parties having been fully resolved and all parties being in
agreement that this cause should be dismissed in its entirety, with full prejudice, the
Court therefore finds that this cause should be dismissed, with full prejudice and,
accordingly:

IT IS, THEREFORE, ORDERED, ADJUDGED AND DECREED that this
cause be, and the same is hereby, dismissed against the Defendants, Corrections
Corporation of Arnerica, Doctor Crants, Prison Realty Trust, Inc., Correctional
Management Services Corporation, Prison Realty l\/[anagement, Inc., and Prison
Managenient Services, Inc., with prejudice as an adjudication upon the merits, and it, is,

FURTHER, ORDERED, ADJUDGED AND DECREED that costs of this cause,
including filing fees, will be paid by Plaintiff and no discretionary costs, bill of cost,
expenses or any attorney fees, either by statute or contract, will be applied for or awarded by

either party

This document entered on the docket sheet In compliance

with nose 58 and/errs (a) FHCP on w © h

Case 1:99-cV-01286-.]DB-tmp Document 86 Filed 07/01/05 Page 2 of 4 Page|D 73

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Dated: this l dayo ,2005.

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J. DANIE'L BREE
UNIT D sTATEs DISTRICT J GE

 

APPROVED FOR ENTRY:

 

 

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COUNSEL FOR DEFENDANTS

Case 1:99-cV-01286-.]DB-tmp Document 86 Filed 07/01/05 Page 3 of 4 Page|D 74

CERTIFICATE OF SERVICE

l certify that a copy ofthe foregoing has been served by U.S. mail upon Wayne
A. Ritchie, II and Robert W. Ritchie, Ritchie Fels & Dillard, P.C., P.O. Box 1126,
K_noxville, TN 37901-1126 and W. Gaston Fairey, LLC, 1722 Main Street, Suite 300,
Coiumbia, sc 29201 on June ZB_, 2005.

PENTECOST, GLENN & RUDD, PLLC

By; (;%/M/U{W 065/dfw

J ames I. Pentecost (#011640)
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Notice of Distribution

This notice confirms a copy of the document docketed as number 86 in
case 1:99-CV-01286 was distributed by faX, mail, or direct printing on
July 5, 2005 to the parties listed.

ESSEE

 

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US DISTRICT COURT

